                    UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   No

            v

JOHN JACOB HASAY,                          (electronically filed)
                           Defendant

                             PLEA AGREEMENT

     The following PIea Agreement is entered by the United States

Attorney for the Middie District of Pennsylvania and the above-

captioned defendant. Any reference to the United States or to the

Government in this Agreement shall mean the Office of the United

States Attorney for the Middle District of Pennsylvania.

A. Violation(s). Penalties. and Dismissal of Other Counts

    1.   Waiver of Indictment/Plea of Guiltv. The defendant a grees to

         waive indictment by a grand jury and plead guilty to a felony

         Information, which will be fiIed against the defendant by the

         United States Attorney for the &licidle District of Pennsylvania.

         That Informatiorr will charge the defendant with a violation of

         Title   18, United States Code, $ 922(o), illegal possession of a

         machinegun. The maximum penaity for that offense is
imprisonment for a period of 10 years, a fine of $250,000, a

maximum term of supervised release of three years, to be

determined by the court, which shall be served at the conclusion

of and in addition to any term of imprisonment, the costs of

prosecution, denial of certain federal benefits, and an

assessment in the amount of $100. At the time the guilty plea

is entered, the defendant shall admit to the court that the

defendant is, in fact, guilty ofthe offense charged in the

Information. The defendant agrees that the United States may,

at its sole election, seek additional charges in the event that any

guilty plea entered or sentence imposed pursuant to this

Agreement is subsequently vacated, set aside, or invalidated by

any court. The defendant further agrees to waive any defenses

to the fi1ing ofadditional charges, based upon laches, the

assertion of speedy trial rights, any applicable statute of

limitations, or any other ground. The calculation of time under

the Speedy Trial Act for when trial must commence is tolled as

of the date of the defendant's signing of this PIea Agreement.
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2.   Term ofSupervised Release. The defendant understands that

     the court must impose a term of supervised release following

     any sentence of irnprisonment exceeding one year, or when

     required by stalute. The court rrray require a term of supervised

     release in any other case. In addition, the defendant

     understands that as a conditior of any term of supervised

     release cr probation, the court must order that the defendant

     cooperate in the collection of a DNA sample              if the collection of a

     sample is so authorized by law.

3.   No Further Prosecution Exc            t Tar Char es. The United

     States .Attorne y's Otfice for th,: NIiidlt: District of Pennsylvania

     agrees that   it rvill not bring any othel criminal charges against
     the defendant dirr:ctiy arisiug ou" of'the defendant's

     involvement in the cffense described above. Holvever, nothing

     in this Agreentent will iimit 1:rosr:cution lbr criminal tax

     charges, if a,ny', arising^ r..ut of thcsr: offr:nses.




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B. Fines and Assessments
   4.   Fine. The defendant understa4drs that the court may impose a

        fine pursuant to the Sentencing Reform Act of 1984. The willful

        failure to pay any fine imposed by the court, in full, may be

        considered a breach of this PIea Agreement. Further, the

        defendant acknowledges that willful failure to pay the fine may

        subject the defendant to additional criminal violations and civil

        penalties pursuant to Title 18, United States Code, $ 3611, et

        seq.

   5.   Alternative Fine. The defendant understands that under the

        alternative fine section of Title 18, United States Code, $ 3571,

        the maximum tine quoted above may be increased if the court

        finds that any person derived pecuniary gain or suffered

        pecuniary loss from the offense and that the maximum fine to

        be imposed,   if the court elects to proceed in this fashion, could

        be twice the amount of the gross gain or twice the amount of the

        gross loss resulting from the offense.



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6.   Inmate Financial Responsibilih, prsgram. If the court orders a

     fine or restitution as part ofthe defendant's sentence, and the

     sentence includes a term of imprisonment, the defendant agrees

     to voluntarily enter the United States Bureau of Prisons-

     administered program known as the Inmate Financial

     Responsibility Program, through which the Bureau of Prisons

     will collect up to 50% of the defendant's prison salary, and up to

     50% of the balance of the defendant's inmate account, and apply

     that amount on the defendant's behalf to the payment of the

     outstanding fine and restitution orders.

7.   Special Assessment. The defendant understands that the court

     will impose a special assessment of $100, pursuant to the

     provisions of Title 18, United States Code, $ 3013. No later

     than the date ofsentencing, the defendant or defendant's

     counsel shall mail a check in paymerrt of the special assessment

     directly to the Clerk, United States District Court, Middle

     District of Pennsylvania. If the defendant intentionally fails to

     make this payment, that failure may be treated as a breach of
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     this Plea Agreemenl; and rnay resiilt in further prosecution, the

     filing of additional crirniual r:harges, or a contempt citation.

8.   Collection of tr'inancial Oblisatiorrs. In order to facilitate the

     collection of financial obligations imposed in connection with

     this case, the defendant consents and agrees:

     a.   to fully dist:iose ail assets in ivhich the defendant has an

          interest or over wluch the defendant has control, directly or

          indirectl;7. iircluding tiiose hcici by   a.   spouse, nominee, or

          other iihirrj nartyi

     b.   to submit   f.o   interv-ir:ws by the Government regarding the

          def'endantls financial statusi

     C    to submit a complete, accura.te, and truthful financial

          statement, rtn tiic, fcrrn rrcvid"4 f.7 the Government, to the

          United States fulorney,'s ()ifice no later than 14 days

          following i:ntly of ther guiity l:ie;.;

     d.   u-hether r',:rprei;ente(i h.v courrsel (rr ltot, to consent to contact

          by arrd corrlrnuniceticn u.itir the (iovernment, and to waive

          any prohifo:tion aga.r:si i:ot;l.muiliL'ation with a represented
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                                       :.i   ;-r ;r..,




               party by the Government regarding the defendant's

               financial statusl

          e.   to authorize the Government to obtain the defendant's

               credit reports in order to evaluate the defendant's ability to

               satisfy any financial obligations imposed by the courti and

          f.   to submit any financial information requested by the

               Probation Office as directed, and to the sharing of frnancial

               information between the Government and the Probation

               Office.

C.   Sentencine             es Calculation

     9.   Determination o f Sentencins Guidelines. The defendant and

          counsel for both parties agree that the United States Sentencing

          Commission Guidelines, which took effect on November 1, 1987,

          and its amendments, as interpreted by United States v. Booker,

          543 U.S. 220 (2005),     will apply to the offense or offenses to

          which the defendant is pleading guilty. The defendant further

          agrees that any legal and factual issues relating to the

          application of the Federai Sentencing Guidelines to the
                                             7
   defendant's conduct, including facts to support any specific

   offense characteristic or other enhancement or adjustment and

   the appropriate sentence within the statutory maximums

   provided for by law, will be determined by the court after

   briefing, a pre-sentence hearing, and/or a sentencing hearing.

10. Acceptance of Responsibilitv- Two/Three Levels.     If the

   defendant can adequately demonstrate recognition and

   affirmative acceptance of responsibility to the Government as

   required by the Sentencing Guidelines, the Government will

   recommend that the defendant receive a two- or three-level

   reduction in the defendant's offense level for acceptance of

   responsibility. The third level, if applicable, shall be within the

   discretion of the Government under U.S.S.G. $ 3E1.1. The

   failure of the court to find that the defendant is entitled to a

   two- or three-level reduction shall not be a basis to void this

   PIea Agreement.




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1   1. S pecific Sente rreifiS_Gg4iqf4gg-&etq Eq-rn_eAdAliqng. With      re   sp   ect

      to the application of the Sentencing Guidelines to the

      defendant's conduct, the partres agree to recommend as follows:

      a    The offense involved a firearm described in 26 U.S.C.

           $5845(d; and

      b.   The offense involved three to seven firearms, pursuant to

           u.s.s.G.   $ 2K2.   1(bxi)(B).

      Each party reriorves the right to make whatever remaining

      arguments it cipems approoriate with regard to application of

      the United Stertes Sentencing Commission Guidelines to the

      def'endarit's condr.rct. The defendant understands that none of

      these recornmcndations is binding upon either the court or the

      United States    Pr.'obatiorr. Office, .,r'hich may make   different

      findings as to che applica.tion oI the Senrencing Guidelines to

      the defendant's eor,d,lct. 'fhe rte[:.lnrlant further understands

      that the United Stateg wiil provicie, ihe court and the United

      States Probatiirn Offrr:e all infbrmeri.ion in its possession that           it


                                       I
        deems relevant to the application of the Sentencing Guidelines

        to the defendant's conduct.

D.   Sentencins Recommendation

     72. A   ro riate Sentence Recommendation. At the time of

        sentencing, the United States may make a recommendation

        that it considers appropriate based upon the nature and

        circumstances of the case and the defendant's participation in

        the offense, and specifically reserves the right to recommend a

        sentence up to and including the maximum sentence of

        imprisonment and fine a-Ilowable, together with the cost of

        prosecution.

     13. Special Conditions of Probation/Supervised Release.   If
        probation or a term of supervised release is ordered, the United

        States may recommend that the court impose one or more

        special conditions, including but not limited to the following:

        a    The defendant be prohibited from possessing a firearm or

             other dangerous weapon.



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b.   The defendant make restitution, if applicable, the payment

     of which shall be in accordance with a schedule to be

     determined by the court.

c.   The defendant pay any fine imposed in accordance with a

     schedule to be determined by the court.

d.   The defendant be prohibited from incurring new credit

     charges or opening additional lines of credit without

     approval of the Probation Office unless the defendant is in

     compliance with the payment schedule.

e    The defendant be directed to provide the Probation Office

     and the United States Attorney access to any requested

     financial information.

f.   The defendant be confined in a communitv treatment

     center, halfway house, or similar facility.

g.   The defendant   b,e   placed under home confrnement.

h.   The defendant be ordered to perform community service.




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         1    The defentlant be v'estricteci irom working in certain types of

              occupationri or with certain individuals, if the Government

              deems such restrictions to be appropriate.

        j.    The defendant be directed to attend substance abuse

              counseling, which may include testing to determine whether

              the defendnnt is using drugs or alcohol.

         k.   The defendant be directed to attend psychiatric or

              psychological counseling and treatment in a program

              approved by the Probtrticn Oificer..

         L    The defenrlant i:c tlerried cert;ain f'ederal benefits including

              contracts, grants, lozrns, fellolvshi.ps and licenses.

         m    The defenrlant be dir'ected to oay any state or federal taxes

              and file any ancl ail state anri t'ederal tax returns as

              required by law.

E.   Forfeiture of'Asserir

     14. Forfeiturp-. ?hr; prest:nl jnl'orrnr.-t:oi: seeks forfeiture of the

         defendant's interests irr certain arisets. In the event the United

         States seeks to forf'eil tirose zrqsets through a civil proceeding,
                                        ic)
the defendant understands that dismissal of the criminal

forfeiture allegation in no way limits the United States from

proceeding civilly against any assets owned or held by the

defendant or any other party. Def'endant agrees to settle any

civil and criminal forfeiture matters arising out of the offense of

conviction and its relevant conduct. The defendant agrees that

the defendant's property constitutes proceeds of, is derived from

proceeds traceable to, or was used in any manner or part to

commit or facilitate the commission of the offense of conviction

and its relevant conduct. Defendant further agrees to the

following:

a   Forfeiture of the following firearms, ammunition, and

    associated components:

    1     Glock 19 9mm bearing an auto sear, Serial No.

          BDCC352;

    It.   CAA Model G3, Micro Roni pistol carbine conversion

          bearing a scopei



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     iii. IWI Model MP Uzi bearing a shortened barrel, Serial
           No. W1005825;

     lv. GSG Model S22bearing a shortened barrel and a Black

           and Brown optic, Serial No. 4566778;

     v     Charter Arms Model AR-7 Explorer bearing a shortened

           barrel, Serial No. ,A'145952;

     vi.   Mossberg Model 500A bearing a shortened barrel, Serial

           No. J387047;

     vii. I.O. Inc. Sporter bearing a suppressor, Serial No.

           5030322;

     viii.two suppressorsi

     IX    miscellaneous sawed-off rifle and shotgun barrelsi and

     x     miscellaneous ammunition and magazinesl

b.   That the above firearms anci ammunition were involved in

     the commission of violations of 18 U.S.C. $ 922(o), and are

     subject to forfeiture pursuant to 18 U.S.C. $ 924(d) as

     incorporate<i by 28 U.S.C. g 2+61(c);



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C    That once the following firearms are no longer retained for

     evidence, they    will be releasr:d fbr sale to a federal firearms

     licensee designated by the defendant and approved by the

     United States Attorney's Office, with the sale proceeds

     returned to the defendant or his designeei

     I      DPMS Panther Arms Model A-15, Serial No.

            DNWCOO2348;

     tl     BFI Model BACR bearing a scope, Serial No.

            ACRDOOOsOO;

     iii.   Squire Bingham Model 14 bearing a scope, Serial No.

            542766;

     lV. Century Arrns Model O30B Sporter, Serial No.

            C308t113642, bcai'ing a X-Sight XD scope, Serial No.

            333825; and

            Ruger ftIodei 1022, Seriai lIo. 0003-90870;

d.   Immediate entr.y of the prelirninary order of forfeiture

     and/or the filing of   I civii cornpiaint by the United States,
     pursuant io Title 18, United Sta';es Code, $ 981i
                                1r1
e    Waiver of the right to personal service of all process and

     naming of AI Flora, Esq. as agent for service of all processi

f.   Waiver of the right to appear and contest any portion of the

     forfeiture proceedings, including but not limited to, any

     motion or proceeding for substitute assetsi

c.   The filing and entry ofa consent decree offorfeiturei

h.   Disclosure, no later than upon signing this Agreement, of all

     persorls and entities holding an equitable or legal interest in

     the property, real or personal, subject to forfeiture pursuant

     to this Agrcementi

I    Concurrence in any motion necessary to be filed and signing

     any documents necessary to effectuate forfeiturei

j.   Payment of costs associated with the seizure, storage, and

     maintenance of the any asset being returned to the

     defendant as a restrlt of this Agreementi

k.   In the event any assets are being returned to the defendant,

     such return does not amounb to having "substantially

     prevailed" in the pursuit of any claim, and to make no claim
                             16
        against the Uniteri States or any of its agencies or

        employees, including claims for attorney's fees and costs of

        litigationi

   I.   Waiver of any double jeopardy challenges the defendant

        may have to any administrative or civil forfeiture actions,

        pending or completed, arising out of the course of conduct

        forming the basis for the forf'cituresi and

   m Waiver of aII constitutional, legal, and equitable claims

        arising out of and./or defenses to the forfeiture of this

        property in any proceeding, including any claim oflnnocent

        Ownership and any claim or defense under the Eighth

        Amendment, including any claim of excessive fine.

15. Disclosure of Assets. This Agreement is being entered by the

   United States on the basis of the express representation that

   the defendant is making full and complete disclosure of all

   assets over which thc def'endant exercises control. The

   defendant agrees to submit to a polygraph examination by an

   examiner selected by the Government to verify the defendant,s
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   complete anri citnclid conrpliance with this provision of the PIea

   Agreement. The defendant also understands that a failure to

    make a full disclosure or lack of candor revealed by a polygraph

   examination would constitute a breach of this Plea Agreement,

    subjecting the defendant to the sanctions set forth in this Plea

   Agreement. Conditioned upon such full disclosure, the United

    States agrees not to seek tire seizure/forfeiture ofany ofthe

    defendant's assets other than those set tbrth in this Agreement.

16. No Further Forfeiture. As the result           t.rf   the forfeitures set forth

   above, the United States agrees not to seek forfeiture of any

   other asset ]<nown to the United States by defendant's

    disclosure to belong to the defendant or the defendant's family.

   This Agreement does not prevent the Internal Revenue Service

   from the collectiorr ofta.xes or the seizure ofassets to satisfy

   those taxes.

17. Forfeiture of Interests/Pg.ssa e of.Clear Titl e/Destruction Order.

   By this Agreement, the d,efendant            ag,-rees   to forfeit all interests

   in the assets   sr-,i   forth   abo.,,c and to take    whatever steps   ar.e
                                         |]
   necessary to pass clear title of those assets to the United States.

   These steps include but are not limited to surrender of   titlei

   signing of a consent decreei stipulating to facts regarding the

   transfer and basis for the forfeituresi and concurrence in any

   motion and signing any document necessary to effectuate such

   transfers.

18. Destruction OrderAVajvers. The defendant further agrees,

   should the United States deem it appropriate, to the destruction

   of the items seized during the course of the investigation. The

   defendant agrees that the items may be destroyed by the

   investigative agency with or without a court order authorizing

   the destruction of the iterns seized. If the United States

   determines that a destruction order should be obtained, the

   defendant and defendant's courrsel herebv concur in a motion for

   such an order. The defendant further agrees to waive all

   interest in the assets in any administrative or judiciat forfeiture

   proceeding, whether criminal or civil, state or federal. The

   defendant consents and rvaives aII rights to compliance by the
                               19
   United States with any applicable deadlines under 18 U.S.C. S

   983(a). Any related administrative claim filed by the defendant

   is hereby withdrawn. The defendant agrees to consent to the

   entry of orders of forfeiture for such property and waives the

   requirements of Federal Rules of Criminal Procedure 32.2 and

   43(d regarding notice ofthe forfeiture in the charging

   instrument, announcement of the forfeiture at sentencing, and

   incorporation of forfeiture in the judgment.

19. Forfeiture of Firearms Possessed in Connection With the

   Offense. The United States and Defendant hereb y agree that

   the Glock 19 9mm, Serial No. BDCC352, CAA Model G3, Micro

   Roni pistol carbine conversion, IWI Model MP Uzi, Serial No.

   W1005825, GSG Model 522, Serial No. 4566778, Charter Arms

   Model AR-7 Erplorer, Serial No. A145952, Mossberg Model

   5004, Serial lrlo. J387047, and LO. Inc. Sporter, Serial No.

   5030322, which are firea.rms as defined   in   18 U.S.C., S 921,

   seized from Defendarrt and currentiy in the custody and./or

   control of the Federai Bur:ear.r of Investigation, were properly
                               20
        seized and'aras possessed. Defendant hereby relinquishes to the

        United States of America any claim, title and interest

        Defendant has in said firearms. Defendant further states that

        Defendant is the sole and rightful owner of said firearms and

        agrees to withriraw any claim made in any civil, administrative

        or judicial forfeiture brought agarnst said firearms and further

        agrees not to oppose any civil. administrative or judicial

        forfeiture of said firearm.

F.   Victims' Rights andRestitutioq

     20. Victims'Rights. The de,fendant understands that pursuarrt to

        the Victim and Witness Protection Act, the Crime Victims'

        Rights Act, the Jusbicc t'or A-ll Act, and the regulations

        promulgated r:rrder thosc' Acts by the Atlorney General of the

        United States, crime vicri;ns harre rhe following rights:

        a    The right to be reasonably rrrotected from the accusedi

        b.   The right to reasonable, accui'ate, and timely notice of any

             public court proc.eedil:g or   an_v   parole proceeding involving

             the crime, or of any rel,:ase or escape of the accused;
                                      27
C.   The right rrot to be excluded from any such public court

     proceeding, unless the court, after receiving clear and

     convincing evidence, determines that testimony by the

     victim would be altered materially if the victim heard other

     testimony at that proceedingi

d.   The right to be reasonably heard at any public hearing in

     the district court involving release, plea, sentencing, or any

     parole proceeding. The defendant understands that the

     victim's comments and recommendations at any of these

     proceedings may be different than those of the parties to

     this Agreementi

e    The reasonable right to confer with the attorney for the

     Government in the case. The defendant understands that

     the victim's opinions and recommendations given to the

     attorney fcr the Government may be different than those

     presented by the United States as a consequence ofthis

     Agreementi



                             22
   f.   The right to   fuil and timely restitution as provided for by

        1aw. The attorney for the Government is required to "fully

        advocate the rights of victims on the issue of restitution

        unless such advocacy would unduly prolong or complicate

        the sentencing proceeding," and the court is authorized to

        order restitution by the defendant including, but not limited

        to, restitution lbr property loss, economic loss, personal

        injury, or deathi

   g.   The right to proceedings free from unreasonable delayi and

   h.   The right to be treated with fairness and with respect for

        the victim's dignity and privacy.

21. Restitution. The defendant acknowledges that, pursuant to the

   Mandatory Restitution Act of April 24,1996, Title 18, United

   States Code, $ 3663A, the court is required in all instances to

   order full restitution to all victims for the losses those victims

   have suffered as a result ofthe defendant's conduct. The

   defendant also agrees that the Government will seek and the

   court may impose an order of restitution as to victims of the
                                 23
defendant's reievant condrrct. Witb respect to the payment of

restitution, the defendant further agrees that, as part ofthe

sentence in this matter, the defendant shall be responsible for

making payment of restitution in full, unless the defendant can

demonstrate to the satisfaction of the court that the defendant's

economic circumstances do not allcw for the payment of          full

restitution in the foreseeable ftiture, in which case the

defendant wiII be required to make partial restitution

payments. In addition to the scheduie of payments that may be

established by the court, the Del'endant understands and agrees

that, pursuant ro the Mandatory Victims Restitution Act of

1996 and the Justice l'or   All   Act, of 2004, victims of Federal

Crime are entitled to fr.rll and tirnelv restitution. As such, these

payments do rrcrt precluCe the government from using other
                          'llefentlant
assets or income of the                  to satisfy the restitution

obligation. The Defendant understands and agrees that the

United States Attorney's Of{ice, h;, and through the Financial

Litigation Unit, has thc. obligation and the right to pursue any
                              24
legal means, including but not lirnited to, submission of the debt

to the Treasury Offset Program, to collect the fuII amount of

restitution owed to the victim(s) in a timely fashion. Although

the defendant may reserve the right to contest the amount of

restitution owed, the defendant agrees to take      a1I steps to

facilitate collection of all restitution, including submitting to

debtor's exams as directed by the Government. Towards this

goal, the defendant agrees to waive any further notice of

forfeiture and agrees that the United States may, at its sole

election, elect to pursue civil and./or criminal forfeiture in the

amount of the victim restitution   orn   ed in this case, and the court

may enter both a restitution order and a forfeiture judgment in

the amount of any unpaid restitution found by the court to be

due and owing at the time of sentencing in this matter. The

defendant consents to the filing of any civil complaint or

superseding informatiorr rvhich may be necessary to perfect a

forfeiture order and further stipulates and agrees that the

defendant's guilty plea constitutes an admission to all matters
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       legally and factually necessary for entry of a forfeiture order in

       this case. The defendant acknowledges that the making of any

       payments does not preclude the Government from using other

       assets or income of the defendant to satisfy the restitution

       obligations. The defendant understands that the amount of

       restitution calculated for purposes of Chapter 5 of the

       Sentencing Guidelines might be different from the amount of

       loss calculated for purposes of Chapter 2   ofthe Sentencing

       Guidelines.

G. Information Provided to Court and Probation     Office

   22. Backwound Infbrm ation for Probation Office. The defendant

       understands that the United States will provide to the United

       States Probation Office all information in its possession that the

       United States deems relevant regarding the defendant's

       background, character, cooperation, ifany, and involvement in

       this or other offenses.

   23. Obiections to Pre-Sentence Rep ort. The defendant understands

       that pursuant to the United States District Court for the Middle
                                   26
District of Pennsylvania "Poiicy for Guideline Sentencing" both

the United States and defendant must communicate to the

Probation Officer within 14 days after disclosure of the pre-

sentence report any obiections they may have as to material

information, sentencing classifications, sentencing guideline

ranges, and policy statements contained in or omitted from the

report. The defendant agrees to rneer with the United States at

least five days prior to sentencing in a good faith attempt to

resolve any suhstantive differences.      If any issues remain
unresolved, they shall be cornmunicated to the Probation Officer

for inclusion in an addendum to the pre-sentence report. The

defendant agrees that unresolved substantive objections will be

decided hy the court after briefing, or a pre-sentence hearing, or

at the senterrcing hearing            thi: standard or proof will be a
                             "vhere
preponderance of the evitlence, antL the Federal Rules of

Evidence, other than witir respecl to privileges, shall not apply

under Fed. R. Evid. 110i (d)(3), and rhe courb may consider any

reliable evi<ience, includ-rng hea.rsay. Objections by the
                             on
   defendant to the pre-sentence report or the court's rulings, will

   not be grounds for withdrawal of a plea of guilty.

24. Relevant Sentencine Information. At the sentencing, the

   United States will be permitted to bring to the court's attention,

   and the court will be permitted to consider, all relevant

   information about the defendant's background, character and

   conduct, including the conduct that is the subject ofthe charges

   that the United States has agreed to dismiss, and the nature

   and extent of the defendant's cooperation, if any. The United

   States will be entitled to bring to the court's attention and the

   court will be entitled to consider any failure by the defendant to

   fulfill any obligation under this Agreement.
25. Non-Limitation on Government's Response. Nothing in this

   Agreement shall restrict or limit the nature or content of the

   United States' motions or responses to any motions filed on

   behalf of the defendant. Nor does this Agreement in any way

   restrict the government in responding to any request by the

   court for briefi.ng, argument or pl'esentation of evidence
                               28
        regarding the application of Sentencing Guidelines to the

        defendant's conduct, including but not limited to, requests for

        information concerning possible sentencing departures.

H.   Court Not Bound bv Plea Aseement

     26. Court Not Bound by Terms. The defendant understands that

        the court is not a party to and is not bound by this Agreement,

        or any recommendations made by the parties. Thus, the court rs

        free to impose upon the defendant any sentence up to and

        including the maximum sentence of imprisonment for 10 years,

        a fine of $250,000, a maximum term of supervised release of up

        to three years, which shall be served at the conclusion of and in

        addition to any term of imprisonment, the costs of prosecution,

        denial ofcertain federal benefits, and assessments totaling

        $100.

     27. No Withdrawal of Plea Btised on Senten<:e or Recommend ations.

        If the court imposes a sentence with which the defendant is

        dissatisfied, the defendant will not be permitted to withdraw

        any guilty plea for that reason alone, nor will the defendant be
                                   29
       permitted to vvithdraw an;'pleas should the court decline to

       follow any recommendations by any of the parties to this

       Agreement.

I   Breach of PIea Asre ement bv Defendant

    28. Breach of Asreement. In the event the United States believes

       the defendant has failed to fulfi1l any obligations under this

       Agreement, then the United States shall, in its discretion, have

       the option ofpetitioning the court to be relieved ofits

       obligations. Whether the defendant has completely fulfilled all

       of the obligations under this Agreement shall be determined by

       the court in an appropriate proceeding during which any

       disclosures and documents provided by the defendant shall be

       admissible, and during rvhich the llnited States shall be

       required to establish any breach by a preponderance ofthe

       evidence. In order to estatriish any llreach by the defendant, the

       United States is entitled to rely rrn statements and evidence

       given by the defendarn during the cr;operation phase of this

       Agreement, if any.
                                   30
29. Remedies for Breach. The defendant and the United States

   agree that in the event the court concludes that the defendant

   has breached the Agreement:

   a    The defendant   will not be permitted to withdraw any guilty

        plea tendered under this Agreement and agrees not to

        petition for withdrawal of any guilty pleai

   b.   The United States will be free to make any

        recommenclations to the court regarding sentencing in this

        C&SE,


   C    Any evidence or statements made by the defendant during

        the cooperation phase of this Agreement, if any, will be

        admissible at any trials or sentencings;

   d.   The United States will be free to bring any other charges   it
        has against the det'endant, including any charges originally

        brought against the defendant or which may have been

        under investigation at the time of the plea. The defendant

        waives and hereby agrees not to raise any defense to the



                                31
       reinstatenrent of rhese charges based upon collateral

       estoppel, Double Jeopardy, or other similar grounds.

30. Violation of Law While Plea or Sentence Pending. The

   defendant understands that it is a condition of this Plea

   Agreement that the defendant refrain from any further

   violations of state, Iocal, or federal law while awaiting plea and

   sentencing under this Agreement. The defendant acknowledges

   and agrees that if the government receives information that the

   defendant has committed new crimes while awaiting plea or

   sentencing in this case, the government rnay petition the court

   and, i.f the court finds by a preponderance of the evidence that

   the defendant has committed any other criminal offense while

   awaiting plea or sentencing, the Government sha1l be free at its

   sole election to   either:   (a) withdraw from this Agreementi or (b)

   make any sentencing recornmendations to the court that        it
   deems appropriate. The defendant further understands and

   agrees that,   if the court linds that the defendant has committed

   any other offense while awaiting plea or sentencing, the
                                   32
        defendant wili not be permitteri to withdraw any guilty pleas

        tendered pursuant to this Plea Agreement, and the government

        will be permitted to bring any additional charges that it may

        have against the defendant.

J.   Deportation

     31. Deportation/Removal from the [Inited States. The defendant

        understands that, if defendant is not a United States citizen,

        deportation/removal frorn the United States is a possible

        consequence     ofthis plea. The defendant lurther agrees that

        this matter has been discussed *'ith counsel who has explained

        the immigratic,n corrsequences of this plea. Defendant still

        desires to enter into this plea after having been so advised.

K.   Other Provieions

     32. Aereement NqL gi4dirg_qu !Lb9r_AC9!SleE. Nothing in this

        Agreement shall bind     an.v-   r*her United States Attorney's Office,

        state prosecutor's office, or fedet'al, state or local law

        enforcement agency.



                                         ,)D
33. No Civil Claims or Suits. The def'endant agrees not to pursue or

   initiate any civil claims or suits against the United States of

   America, its agencies or employees, whether or not presently

   known to the defendant, arising out of the investigation,

   prosecution or cooperation, if any, covered by this Agreement,

   including but not Iimited to any claims for attorney's fees and

   other litigation expenses arising out ofthe investigation and

   prosecution of this matter. By the defendant's guilty plea in

   this matter the defendant further acknowledges that the

   Government's position in this litigation was taken in good faith,

   had a substantial basis in law and fact and was not vexatious.

34. Plea Aereement Serves Ends of Justice. The United States is

   entering into this Plea Agreement with the defendant because

   this disposition of the matter fairly arrd adequately addresses

   the gravity ofthe series ofoffenses from which the charges are

   drawn, as well as the defendant's role in such offenses, thereby

   serving the ends of justice.



                                  34
35. Merser of AII Prior Nesotiabions. This document states the

   complete and only Plea Agreement between the United States

   Attorney for the Middle District of Pennsylvania and the

   defendant in this case, and is binding only on the parties to this

   Agreement and supersedes all prior understandings or plea

   offers, whether written or oral. This agreement cannot be

   modifred other than in writing that is signed by all parties or on

   the record in court. No other promises or inducements have

   been or   will be rnade to the defendant in connection with this

   case, nor have any predictions or threats been made    in

   connection with this plea. Pursuant to Rule 11 of the Federal

   Rules of Criminal Procedure, the defendant certifies that the

   defendant's plea is knowing and voluntary, and is not the result

   of force or threats or promises apart from those promises set

   forth in this written Plea Agreemenl.

36. Defendant is Satisfied with A ssistance of Counsel. The

   Defendant agrees that the defendant has discussed this case

   and this plea agreement in detail with the defendant's attorney
                                35
   who has adviseri the defeirdant of the deI'endant's Constitutional

   and other trial and appeal righbs, the nature ofthe charges, the

   elements of the offenses the United States rvould have to prove

   at trial, the evidence the United States would present at such

   trial, possible defenses, the advisory Sentencing Guidelines and

   other aspects ofsentencing, potential losses ofcivil rights and

   privileges, and other poterrtial conseque\nces of pieading guilty

   in this case. 'Ihe defendant agrees that lhe defendant is

   satisfied with che legal seryices and advice provided to the

   def'endant by tbe defendant's attorney.

37. Deadline for Acceptangqof Plea Agreement. The original of this

   Agreement m,ri;t be signed by the defendant and defense

   counsel and received   bl'the United States Attorney's Office on

   or before 5:00 p.nr., October 26, 2018, otherwise the off'er may,

   in the sole discretion of the Government, be deemed withdrawn.

38. Required Si   atures. None of the terms of thi s Agreement shall

   be binding on the Office of the United States Attorney for the

   Middle District of Pennsl,lvania until signed by the defendant
                               36
and defense counsel and then signed by the United States

Attorney or his designee.




                            ,1 ,
                          ACKNOWLEDGMENTS

     I have read this agreement and carefully reviewed every part of it
with my attorney. I fully understand it and I voluntarily agree to it.

iD-{-lq,
Date
                                                       //z
                                           JOHN JACOB HAS
                                           Defendant


         I am the defendant's counsel. I have carefully reviewed every part
of this agreement with the defendant. To my knowJ.edge, my client's
decision to enter into this agreement is an informed and voluntary one.


 /o            Y                             CttY
Date                                       AIBERT FLORA,     ESQ.
                                           Counsel for Defendant




                                           DAVID J. FREED
                                           United States Attorney


tl   7   t8                         By:
Date                                       PHILLIP J. CARABAILO
                                           Assistant United States Attorney




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